                              UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DIVISION
                               NORTHERN DISTRICT OF ALABAMA


IN RE:                                                       CASE NO. 13-80901-CRJ-13
                                                             CHAPTER 13
Timothy Lamar Terry
Daphne Deniese Terry                                         JUDGE CLIFTON R. JESSUP, JR

         DEBTORS                                             NOTICE OF FINAL CURE PAYMENT


Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, Michele T. Hatcher
files this Notice of Final Cure Payment. The amount required to cure the default in the claim listed
below has been paid in full.

Name of Creditor: NEW PENN FINANCIAL LLC                                      Court Claim No: 15


Final Cure Amount

Amount of Prepetition Arrears: $22,418.19

Additional Interest Paid: $1,255.97

Amount Paid by Trustee: $23,674.16

Monthly Ongoing Mortgage Payment

Mortgage is Paid:

o    Through the Chapter 13 Trustee                      þ Direct by the Debtors

Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve a
Statement as a supplement to the holder’s proof of claim on the Debtors, Debtors' Counsel and the
Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtors
have paid in full the amount required to cure the default on the claim; and 2) whether the Debtors are
otherwise current on all payments consistent with Section 1322(b)(5) of the Code.

The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends
remain unpaid as of the date of the statement. The statement shall be filed as a supplement to the
holder’s proof of claim.


Dated: March 05, 2018                                          /s/ Michele T. Hatcher, Trustee
                                                               Michele T. Hatcher, Trustee
                                                               Standing Chapter 13 Trustee
                                                               P.O. Box 2388
                                                               Decatur, AL 35602-2388



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                                    CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Notice of Final Cure Payment was served on the parties
listed below by ordinary U.S. Main or served electronically through the Court’s ECF System at the e-mail
address registered with the Court on this 5th day of March, 2018.



Timothy Lamar Terry
532 Co Rd 796
Cullman, AL 35055


STUART L MOORE
ATTORNEY AT LAW
101 1ST AVE NE STE 130
CULLMAN, AL 35055


NEW PENN FINANCIAL LLC
C/O SHELLPOINT MORTGAGE SERVICING
PO BOX 10675
GREENVILLE, SC 29603-0675


Dated: March 05, 2018                                        /s/ Michele T. Hatcher, Trustee
                                                             Michele T. Hatcher, Trustee
                                                             Standing Chapter 13 Trustee
                                                             P.O. Box 2388
                                                             Decatur, AL 35602-2388




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